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DQGHQWHUWKH&KHHVHFDNH)DFWRU\DORQH2QFHLQVLGHWKH&KHHVHFDNH)DFWRU\&,5,12PHWZLWK

&67KHPHHWLQJZDVUHFRUGHGDQGVXUYHLOOHGE\LQYHVWLJDWRUV$IWHUWKHWZRPHW&6FDOOHG

WKH8&DQGLQVWUXFWHGKLPWREULQJWKHWRWKHP2QO\&6¶VHQGRIWKHWHOHSKRQH

FRQYHUVDWLRQZDVUHFRUGHGE\WKHDXGLRUHFRUGLQJGHYLFH7KH8&WKHQGURYHWR&6DQG8&

RXWVLGHWKH&KHHVHFDNH)DFWRU\DQGWKH\HQWHUHGWKHYHKLFOH

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YHKLFOHDQG&,5,12HQWHUHGWKHUHDUSDVVHQJHUVLGHVHDW2QHLQVLGHWKHYHKLFOH&6LQWURGXFHG

WKH8&WR&,5,12$IWHUWKHLQWURGXFWLRQWKH8&UHPRWHO\RSHQHGWKHVHFUHWFRPSDUWPHQW



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UHYHDOLQJWKHRI86&XUUHQF\WR&,5,12DQG&6$IWHUWKHVHFUHWFRPSDUWPHQWZDV

RSHQHG&,5,12WRRNWKHPRQH\ZUDSSHGLQSODVWLFEDJVRSHQHGWKHSODVWLFEDJVDQGEHJDQ

FRXQWLQJWKHPRQH\&,5,12GLGQRWILQLVKFRXQWLQJWKHPRQH\DQGVDLGWKDWKHZRXOGFRXQWWKH

PRQH\ODWHU&,5,12WKHQWRRNRXWDEODFNSODVWLFEDJIURPKLVSRFNHWDQGKDQGHGLWWR&6

7KH8&WKHQLQVWUXFWHG&6WRSODFHWKHEODFNSODVWLFEDJLQWRWKHVHFUHWFRPSDUWPHQW$IWHU

&6SODFHGWKHEODFNSODVWLFEDJLQWRWKHVHFUHWFRPSDUWPHQWWKH8&UHPRWHO\FORVHGWKHVHFUHW

FRPSDUWPHQW7KHGDUNSODVWLFEDJZDVODWHULQVSHFWHGE\'($LQYHVWLJDWRUVDQGIRXQGWR

FRQWDLQDSSUR[LPDWHO\RQHKXQGUHGJUDPVRIDFRPSUHVVHGZKLWHSRZGHUZKLFKEDVHGXSRQP\

WUDLQLQJDQGH[SHULHQFHDQGWKHIDFWVLQWKLVLQYHVWLJDWLRQ,EHOLHYHWREHIHQWDQ\O&,5,12WKHQ

LQVWUXFWHGWKH8&WRGULYHDURXQGWKHSDUNLQJORW'XULQJWKHGULYHDURXQGWKHSDUNLQJORW

&,5,12DQG&6GLVFXVVHGDGHDOIRUWKUHHNLORJUDPVRIIHQWDQ\O7KH8&ZDVSUHVHQWIRUWKLV

QHJRWLDWLRQZKLFKZDVUHFRUGHG&,5,12PHQWLRQHGWKDWKHGLGQRWZDQWWRGRWKHWKUHH

NLORJUDPGHDOLQDSDUNLQJORWEXWSUHIHUUHGWRGRWKDWGHDOLQDKRXVH&6VXJJHVWHGGRLQJWKH

GHDOIRUWKUHHNLORJUDPVRIIHQWDQ\OLQDKRWHOURRPDWZKLFKWLPH&,5,12WROG&6WRFDOOKLP

ZKHQ&6ZDVUHDG\WRGRWKHGHDO&,5,12WKHQLQVWUXFWHGWKH8&WRVWRSWKHYHKLFOHDWZKLFK

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&,5,12HQWHU520(52¶VPLQLYDQQRZSDUNHGLQIURQWRIWKH1RUGVWURP'HSDUWPHQW6WRUHDW

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WHVWHGGXHWKHDLUERUQHKD]DUGVRIIHQWDQ\ODQGFRQFHUQVIRURIILFHUVDIHW\7KHRQHKXQGUHG

JUDPVRIVXVSHFWHGIHQWDQ\OZDVVHFXUHGLQWKH'($&%,GUXJYDXOWDQGZLOOEHWUDQVSRUWHGWR

WKH1RUWKHDVW5HJLRQDO/DERUDWRU\IRUIXUWKHUDQDO\VLV




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HQWHUHGWKHPLQLYDQDQGREVHUYHGWKHPLQLYDQGULYHGLUHFWO\WR5RXWH1RUWKERXQG$W

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6WUHHW/DZUHQFH0DVVDFKXVHWWVZKLFKLVWKHUHVLGHQFHRI&,5,122QFHVWRSSHGDWWKDW

DGGUHVVLQYHVWLJDWRUVREVHUYHG&,5,12H[LWWKHSDVVHQJHUVHDWRIWKHPLQLYDQDQGHQWHUDQRWKHU

YHKLFOHZLWKD0DVVDFKXVHWWVUHJLVWUDWLRQDQGWKHQGHSDUWWKHDUHD,QYHVWLJDWRUVGLVFRQWLQXHG

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RFFXSDQWRIKLVPLQLYDQDQGVDWLGO\LQKLVPLQLYDQIRUVHYHUDOPLQXWHV$WDSSUR[LPDWHO\

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LQYHVWLJDWRUIROORZHG520(52LQWRWKH0F'RQDOG¶VUHVWDXUDQWDQGFRQILUPHGKLVLGHQWLW\E\

FRPSDULQJKLPWRKLV5KRGH,VODQGGULYHU¶VOLFHQVHLPDJHZKLFKZDVREWDLQHGHDUOLHULQWKHGD\

,WVKRXOGEHQRWHGWKDW520(52KDVDGLVWLQFWVFDURQKLVIDFH

              $WDSSUR[LPDWHO\SP520(52OHIWWKH0F'RQDOG¶VZLWKIRRGDQGDWHLQ

KLVPLQLYDQ$VKRUWWLPHODWHU520(52EHJDQKHDGLQJVRXWKERXQGRQ5RXWHDQGWKHQ

5RXWH2QFHRQ5RXWH6RXWKERXQG,FRQWDFWHG3URYLGHQFH3ROLFH'HWHFWLYH3HUH]DQG

DGYLVHGKLPRIP\REVHUYDWLRQVDQGLQYHVWLJDWLRQ'HWHFWLYH3HUH]WKHQUHHVWDEOLVKHG

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DGYLVHGPHWKDWKHREVHUYHG520(52DUULYHDW3ODLQILHOG6WUHHWZHDULQJWKHVDPHFORWKLQJ

KHZDVZHDULQJHDUOLHULQWKHGD\DQGHQWHUWKHUHDURI3ODLQILHOG6WUHHWRQWKHULJKWVLGHRI

WKHGULYHZD\

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           RQ-XQH



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7KHSXUSRVHRIWKHFDOOZDVIRU&6WRWHOO&,5,12WKDWKHZDVUHDG\WRSXUFKDVHWKHWKUHH

NLORJUDPVRIIHQWDQ\ODWWKHQHJRWLDWHGSULFHRISHUNLORJUDPIRUDWRWDOSXUFKDVHSULFH

RIDVGLVFXVVHGRQ-XQHWKDQG-XQHWK

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REVHUYHG520(52H[LWWKHUHDURI3ODLQILHOG6WUHHWFDUU\LQJDEOXHFRORUHGGXIIOHEDJ

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6XUYHLOODQFHLQYHVWLJDWRUVIROORZHG520(52IURPKLVUHVLGHQFHLQ3URYLGHQFHGLUHFWO\WRWKH

5HG5RRI3OXVORFDWHGDW&RPPHUFH:D\:REXUQ0DVVDFKXVHWWV

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WKH5HG5RRI3OXVKRWHOLQ:REXUQ0DVVDFKXVHWWVWRFRPSOHWHWKHWKUHHNLORJUDPVDOH7KLVFDOO

ZDVFRQVHQVXDOO\UHFRUGHG3ULRUWR&6FDOOLQJ&,5,12LQYHVWLJDWRUVHTXLSSHGWKHKRWHOURRP

ZLWKDXGLRDQGYLGHRVXUYHLOODQFHHTXLSPHQW7KLVHTXLSPHQWZDVPRQLWRUHGDQGUHFRUGHGE\

LQYHVWLJDWRUV3ULRUWRDUULYLQJDWWKH5HG5RRI3OXVKRWHOURRP&6ZDVVHDUFKHGIRU

FRQWUDEDQGZLWKQHJDWLYHUHVXOWV&6ZDVIROORZHGE\LQYHVWLJDWRUVLQWRWKHKRWHOURRPZKHUH

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GHYLFHWKDWZDVPRQLWRUHGE\LQYHVWLJDWRUV7KHUHFRUGLQJLVSUHVHUYHG

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REVHUYHG&,5,12DQG&6PHHWLQWKHKRWHOOREE\'XULQJWKHOREE\PHHWLQJZKLFKZDV

PRQLWRUHGE\LQYHVWLJDWRUVDQGUHFRUGHG&,5,12DGYLVHG&6WKDWWKH\QHHGHGWREHFDXWLRXV



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ZLWKWKHILUVWELJGHDODQGWKDWVXEVHTXHQWGHDOVZRXOGEHPXFKVPRRWKHU7KLVFRQYHUVDWLRQ

ZDVLQ6SDQLVKDQGD6SDQLVKVSHDNLQJLQYHVWLJDWRUZDVPRQLWRULQJWKHFRQYHUVDWLRQDQG

LQWHUSUHWLQJWKHFRQYHUVDWLRQIRURWKHULQYHVWLJDWRUV&,5,12WROG&6WKDWRQO\KHDQGKLVJX\

ZRXOGFRPHWRWKHURRPXSVWDLUV&,5,12WROG&6WKDWKHKDVEHHQGHDOLQJZLWKKLVJX\IRU

WZR\HDUVDQGKDVNQRZQKLPIRUDSSUR[LPDWHO\VL[\HDUV&,5,12DGYLVHG&6WKDWKHKDV

EHHQLQ0DVVDFKXVHWWVIRUDSSUR[LPDWHO\QLQH\HDUV&,5,12WROGWKH&6WKDWKHKDVEHHQ

ZRUNLQJLQVHOOLQJGUXJVIRUWKHSDVWHLJKW\HDUVLQ0DVVDFKXVHWWV&,5,12WROG&6WKDWKH

GRHVQRWGHDOZLWKSHRSOHIURP/DZUHQFHRU%DQLPHDQLQJ%DQL'RPLQLFDQ5HSXEOLF

&,5,12WROG&6WKDWKHZDVLQDVPDOOSUREOHPZLWKWKH³0H[LFDQV´ODVW\HDUDQGWKDWKHRZHG

WKHPDOPRVW&,5,12WROG&6WKDWKHZDVHYHQWXDOO\DEOHWRSD\WKH³0H[LFDQV´

WKHLUPRQH\&,5,12WROG&6WKDWLI&6ZDQWHGSLOOVKHFRXOGSURYLGH&6ZLWKSLOOVDQGWKDW

WKH\ZHUHPDGHWRORRNOLNH³3HUF´PHDQLQJ3HUFRFHWPLOOLJUDPSLOOV&,5,12WROG&6

WKDWWKHSLOOVZHUHQRWRULJLQDODQGWKDWKHFRXOGFRORUWKHSLOOVDQ\FRORU&6ZDQWHGDQGFKDUJHV

VL[GROODUVSHUSLOO%DVHGRQWKHLQYHVWLJDWLRQLQYHVWLJDWRUVEHOLHYHWKDW&,5,12ZDVUHIHUULQJ

WRIHQWDQ\OSLOOV&,5,12WROG&6WKDWKHEURXJKWFU\VWDOPHWKSLOOVIURP3HQQV\OYDQLDWR

0DVVDFKXVHWWVODVW\HDUDQGQRERG\OLNHGWKHP&,5,12UHFHLYHGDQLQFRPLQJSKRQHFDOODQG

DGYLVHG&6WKDWKLVJX\ZRXOGEHWKHUHVKRUWO\&6WROG&,5,12WKDWKHZDVXSRQWKHIRXUWK

IORRURIWKHKRWHODQGWRFDOOKLPZKHQ&,5,12ZDVLQVLGHWKHKRWHOZLWKKLVJX\&6WROG

&,5,12WKDW&6ZRXOGWKHQWHOO&,5,12ZKLFKURRPQXPEHUWRJRWRZKHQ&,5,12ZDVEDFN

LQVLGHWKHKRWHO&6WKHQUHWXUQHGWRWKHKRWHOURRP6KRUWO\WKHUHDIWHU&6ZDVFRQWDFWHGE\

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URRPQXPEHUWR&,5,12




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SDFNDJHIURPWKHGXIIOHEDJ520(52WROG&6WRWHVWWKHNLORJUDP&6WROG520(52DQG

&,5,12WKDW&6GLGQRWKDYHDEODGHRUDNH\DQGWROGWKHPWKDW&6ZRXOGJHWRQHIURPKLV

JX\$WWKDWWLPH&6EHJDQWRZDONWRWKHURRPHQWU\GRRU0HPEHUVRIWKHDUUHVWWHDPZHUH

UHDG\WRPDNHHQWU\LQWRWKHURRP8SRQ&6RSHQLQJWKHGRRUWKHDUUHVWWHDPHQWHUHGWKHURRP

DQGVHFXUHG520(52&,5,12DQGWKHWKUHHNLORJUDPVRIVXVSHFWHGIHQWDQ\O$IWHUODWHU

LQVSHFWLRQ,EHOLHYHWKHSDFNDJHGHOLYHUHGE\&,5,12DQG520(52WREHIHQWDQ\OEDVHGXSRQ

P\WUDLQLQJDQGH[SHULHQFHWKHDSSHDUDQFHDQGSDFNDJLQJRIWKHVXEVWDQFHWKHQHJRWLDWHG

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H[HFXWHGD5KRGH,VODQGVWDWHDXWKRUL]HGVHDUFKZDUUDQWDW3ODLQILHOG6WUHHW$SDUWPHQWLQ

3URYLGHQFH'XULQJWKHH[HFXWLRQRIWKHVHDUFKZDUUDQWLQYHVWLJDWRUVVHL]HGDSSUR[LPDWHO\RQH

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EHOLHYHWKHRQHNLORJUDPRIZKLWHSRZGHU\VXEVWDQFHLVIHQWDQ\OEDVHGXSRQWKHLUWUDLQLQJDQG

H[SHULHQFHREVHUYDWLRQVDERXWWKHSDFNDJLQJDQGDSSHDUDQFHRIWKHVXEVWDQFH,QDGGLWLRQ

LQYHVWLJDWRUVVHL]HGQXPHURXVLWHPVFRQVLVWHQWZLWKLWHPVXVHGWRSDFNDJHDQGSURFHVVGUXJVIRU

GLVWULEXWLRQDVZHOORWKHUGUXJSDUDSKHUQDOLDLWHPV$UUHVWHGLQVLGHWKHDSDUWPHQWZDVWKH

EURWKHURI520(52LGHQWLILHGDV$EHO%LHU5RPHUR<HDURIELUWK$EHO%LHU5RPHUR

ZDVVXEVHTXHQWO\ERRNHGDQGFKDUJHGZLWK&RQVSLUDF\DQG3RVVHVVLRQZLWK,QWHQWWR'LVWULEXWH

)HQWDQ\OLQWKH6WDWHRI5KRGH,VODQG

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                                              6SHFLDO$JHQW
                                              'UXJ(QIRUFHPHQW$GPLQLVWUDWLRQ
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       6,*1('DQG6:251WREHIRUHPHWKLVQGGD\RI-XQH
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